            Case 15-00277-jw                           Doc 1            Filed 01/19/15 Entered 01/19/15 21:52:53                                                            Desc Main
B1 (Official Form 1) (04/13)                                             Document Page 1 of 53
                                                       United States Bankruptcy Court
                                                                District of SC                                                                                            Voluntary Petition

Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Knapp, Marc, Keith
All Other Names Used by the Debtor in the last 8 years                                               All Other Names Used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                    Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all): xxx-xx-8914                                                           (if more than one, state all):

Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
5695 Captain Kidd Road

Hollywood, SC                                                                  29449
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Charleston
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):




Location of Principal Assets of Business Debtor (if different from street address above):


                     Type of Debtor                                           Nature of Business                                      Chapter of Bankruptcy Code Under Which
                 (Form of Organization)                                        (Check one box.)                                           the Petition is Filed (Check one box)
                    (Check one box.)                              Health Care Business                                          Chapter 7                  Chapter 15 Petition for
      Individual (includes Joint Debtors)                         Single Asset Real Estate as defined in                        Chapter 9                  Recognition of a Foreign
       See Exhibit D on page 2 of this form.                      11 U.S.C § 101 (51B)                                          Chapter 11                 Main Proceeding
      Corporation (includes LLC and LLP)                          Railroad                                                      Chapter 12
                                                                  Stockbroker                                                                              Chapter 15 Petition for
      Partnership                                                                                                               Chapter 13
                                                                  Commodity Broker                                                                         Recognition of a Foreign
      Other (If debtor is not one of the above entities,
                                                                  Clearing Bank                                                                            Nonmain Proceeding
      check this box and state type of entity below.)
                                                                  Other                                                                                    Nature of Debts
                                                                                                                                                           (Check one box.)
                                                                                                                                Debts are primarily consumer                 Debts are primarily
                Chapter 15 Debtors                                           Tax-Exempt Entity
                                                                                                                                debts, defined in 11 U.S.C.                  business debts.
Country of debtor's center of main interests:                              (Check box, if applicable.)
                                                                                                                                § 101(8) as "incured by an
                                                                  Debtor is a tax-exempt organization                           individual primarily for a
Each country in which a foreign proceeding by,                    under Title 26 of the United States
regarding, or against debtor is pending:                                                                                        personal, family, or house-
                                                                  Code (the Internal Revenue Code).                             hold purpose.
                          Filing Fee (Check one box.)                                                                                   Chapter 11 Debtors
                                                                                                         Check one box:
      Full Filing Fee attached
                                                                                                            Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D)
      Filing Fee to be paid in installments (Applicable to individuals only)                                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D)
      Must attach signed application for the court's consideration certifying that the debtor is         Check if:
      unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                         Debtor's aggregate noncontingent liquidated debts (excluding debts owned to
                                                                                                             insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
      Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach                    on 4/01/16 and every three years thereafter).
      signed application for the court's consideration. See Official Form 3B.                                  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                                                         Check all applicable boxes:
                                                                                                            A plan is being filed with this petition.
                                                                                                            Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                               THIS SPACE IS FOR
      Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                                           COURT USE ONLY
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-                 50-               100-                 200-           1,000-            5,001-             10,001-            25,001-             50,001-            Over
 49                 99                199                  999            5,000             10,000             25,000             50,000              100,000            100,000
 Estimated Assets

 $0 to              $50,001 to        $100,001 to          $500,001       $1,000,001        $10,000,001        $50,000,001       $100,000,001         $500,000,001       More than
 $50,000            $100,000          $500,000             to $1          to $10            to $50             to $100           to $500              to $1 billion      $1 billion
                                                           million        million           million            million           million
 Estimated Liabilities

 $0 to              $50,001 to        $100,001 to          $500,001       $1,000,001        $10,000,001        $50,000,001        $100,000,001        $500,000,001       More than
 $50,000            $100,000          $500,000             to $1          to $10            to $50             to $100            to $500             to $1 billion      $1 billion
                                                           million        million           million            million            million
             Case 15-00277-jw                            Doc 1             Filed 01/19/15 Entered 01/19/15 21:52:53                                                        Desc Main
B1 (Official Form 1) (04/13)                                                Document Page 2 of 53                                                                                 Page 2
 Voluntary Petition                                                                                   Name of Debtor(s):        Marc Keith Knapp
 (This page must be completed and filed in every case)
                                                All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet.)

Location                  District of South Carolina                                                   Case Number:                                  Date Filed:
Where Filed:                                                                                           14-00325-jw                                   January 17, 2014

Location                                                                                               Case Number:                                  Date Filed:
Where Filed:
                                  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                                       Case Number:                                  Date Filed:


 District:                                                                                             Relationship:                                 Judge:


                                             Exhibit A                                                                                              Exhibit B
                                                                                                                                    (To be completed if debtor is an individual
   (To be completed if debtor is required to file periodic reports (e.g., forms                                                     whose debts are primarily consumer debts.)
   10K and 10Q) with the Securities and Exchange Commission pursuant to
   Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting                         I, the attorney for the petitioner named in the foregoing petition, declare that I
   relief under chapter 11.)                                                                            have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                        12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                        available under each such chapter. I further certify that I delivered to the
                                                                                                        debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                             X     /s/ D. Nathan Davis                                        January 19, 2015
                                                                                                                   D. Nathan Davis                                            Date

                                                                                                   Exhibit C
   Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
        No


                                                                                                   Exhibit D
   (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
   If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                               Information Regarding the Debtor - Venue
                                                                                         (Check any applicable box.)

               Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
               preceding the date of this petition or for a longer part of such 180 days than in any other District.


               There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


               Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
               or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
               this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                         (Check all applicable boxes.)
               Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

                                                                                                 (Name of landlord that obtained judgment)



                                                                                                 (Address of landlord)


               Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
               entire monetary default that gave rise to the judgment for possession, after the judgement for possession was entered, and

               Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
               filing of the petition.
               Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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B1 (Official Form 1) (04/13)                                               Document Page 3 of 53                                                                      Page 3
 Voluntary Petition                                                                           Name of Debtor(s):    Marc Keith Knapp
 (This page must be completed and filed in every case)

                                                                                          Signatures

                                                                                                                         Signature of a Foreign Representative
               Signature(s) of Debtor(s) (Individual/Joint)
    I declare under penalty of perjury that the information provided in this petition           I declare under penalty of perjury that the information provided in this petition
    is true and correct.                                                                        is true and correct, that I am the foreign representative of a debtor in a foreign
    [If petitioner is an individual whose debts are primarily consumer debts and has            proceeding, and that I am authorized to file this petition.
    chosen to file under Chapter 7] I am aware that I may proceed under chapter 7,
    11, 12 or 13 of title 11, United States Code, understand the relief available under         (Check only one box.)
    each such chapter, and choose to proceed under chapter 7.
                                                                                                     I request relief in accordance with chapter 15 of title 11, United States
    [If no attorney represents me and no bankruptcy petition preparer signs the
                                                                                                      Code. Certified copies of the documents required by § 1515 of title 11 are
    petition] I have obtained and read the notice required by § 342(b) of the
                                                                                                      attached.
    Bankruptcy Code.
                                                                                                     Pursuant to § 1511 of title 11, United States Code, I request relief in accordance
    I request relief in accordance with the chapter of title 11, United States Code,
                                                                                                     with the chapter of title 11 specified in this petition. A certified copy of the
    specified in this petition.
                                                                                                     order granting recognition of the foreign main proceeding is attached.

X     /s/ Marc Keith Knapp                                                                     X
      Marc Keith Knapp                                                                              (Signature of Foreign Representative)
X
      Signature of Joint Debtor
                                                                                                    (Printed Name of Foreign Representative)
      Telephone Number (If not represented by attorney)
      January 19, 2015                                                                              Date
      Date

                                      Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
X     /s/ D. Nathan Davis
                                                                                                as defined in 11 U.S.C. 110; (2) I prepared this document for compensation
      D. Nathan Davis
                                                                                                and have provided the debtor with a copy of this document and the notice and
      D. Nathan Davis                                                                           information required under 11 U.S.C. 110(b), 110(h), and 342(b); and, (3) if
      Printed Name of Attorney for Debtor(s)                                                    rules or guidelines have been promulgated pursuant to 11 U.S.C. 110(h) setting
      Davis Law SC                                                                              a maximum fee for services chargeable by bankruptcy petition preparers, I have
      Firm Name                                                                                 given the debtor notice of the maximum amount before preparing any document
      12 Carriage Lane, Ste. A.                                                                 for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                                section. Official Form 19B is attached.
      Address
      Charleston, SC 29407
                                                                                                    Printed Name and title, if any, of Bankruptcy Petition Preparer

      843-571-4042                                                                              Social Security number (If the bankruptcy petition preparer is not an individual,
      Telephone Number                                                                          state the Social Security number of the officer, principal, responsible person or
      January 19, 2015                                                                          partner of the bankruptcy petition preparer.)(Required by 11 U.S.C. § 110.)
      Date
* In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                    Address
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.
             Signature of Debtor (Corporation/Partnership)
                                                                                               X
    I declare under penalty of perjury that the information provided in this
    petition is true and correct, and that I have been authorized to file this
    petition on behalf of the debtor.
                                                                                                    Date
    The debtor requests relief in accordance with the chapter of title 11,
                                                                                                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
    United States Code, specified in this petition.
                                                                                                person, or partner whose social security number is provided above.

                                                                                                Names and Social Security numbers of all other individuals who
      Signature of Authorized Individual                                                        prepared or assisted in preparing this document unless the bankruptcy petition:
                                                                                                preparer is not an individual.

      Printed Name of Authorized Individual                                                     If more than one person prepared this document, attach additional sheets
                                                                                                conforming to the appropriate official form for each person.

      Title of Authorized Individual                                                            A bankruptcy petition preparer's failure to comply with the provisions
                                                                                                of title 11 and the Federal Rules of Bankruptcy Procedure may result
      Date                                                                                      in fines or imprisionment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
B 1D (Official Form 1, Exhibit D)(12/09)
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                                      UNITED STATES BANKRUPTCY COURT
                                                         District of SC

In Re:                       Marc Keith Knapp                        Case No.
                                   Debtor                                                        (if known)


                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT


                     Warning: You must be able to check truthfully one of the five statements regarding
             credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
             case, and the court can dismiss any case you do file. If that happens, you will lose whatever
             filing fee you paid, and your creditors will be able to resume collection activities against
             you. If your case is dismissed and you file another bankruptcy case later, you may be
             required to pay a second filing fee and you may have to take extra steps to stop creditors'
             collection activities.

                   Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
             must complete and file a separate Exhibit D. Check one of the five statements below and attach
             any documents as directed.

                    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
             from a credit counseling agency approved by the United States trustee or bankruptcy
             administrator that outlined the opportunities for available credit counseling and assisted me in
             performing a related budget analysis, and I have a certificate from the agency describing the
             services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
             developed through the agency.

                    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
             from a credit counseling agency approved by the United States trustee or bankruptcy
             administrator that outlined the opportunities for available credit counseling and assisted me in
             performing a related budget analysis, but I do not have a certificate from the agency describing
             the services provided to me. You must file a copy of a certificate from the agency describing the
             services provided to you and a copy of any debt repayment plan developed through the agency
             no later than 14 days after your bankruptcy case is filed.
B 1D (Official Form 1, Exh. D)(12/09) - Cont.
          Case 15-00277-jw                Doc 1    Filed 01/19/15 Entered 01/19/15 21:52:53                  Desc Main
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                    3. I certify that I requested credit counseling services from an approved agency but was
             unable to obtain the services during the five days from the time I made my request, and the
             following exigent circumstances merit a temporary waiver of the credit counseling requirement
             so I can file my bankruptcy case now. [Summarize exigent circumstances here.]

                   If your certification is satisfactory to the court, you must still obtain the credit
             counseling briefing within the first 30 after you file your bankruptcy petition and
             promptly file a certificate from the agency that provided the counseling, together with a
             copy of any debt management plan developed through the agency. Failure to fulfill these
             requirements may result in dismissal of your case. Any extension of the 30-day deadline
             can be granted only for cause and is limited to a maximum of 15 days. Your case may also
             be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
             without first receiving a credit counseling briefing.

                   4. I am not required to receive a credit counseling briefing because of: [Check the
             applicable statement.][Must be accompanied by a motion for determination by the court.]
                                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                            illness or mental deficiency so as to be incapable of realizing and making rational
                            decisions with respect to financial responsibilities.);
                                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                            extent of being unable, after reasonable effort, to participate in a credit counseling
                            briefing in person, by telephone, or through the Internet.);
                                  Active military duty in a military combat zone.

                   5. The United States trustee or bankruptcy administrator has determined that the credit
             counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

             I certify under penalty of perjury that the information provided above is true and
             correct.




             Marc Keith Knapp              /s/ Marc Keith Knapp
             Date:      January 19, 2015
B 6 Summary (Official Form 6 - Summary) (12/14)
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                                          UNITED STATES BANKRUPTCY COURT
                                                                          District of SC

In Re:                           Marc Keith Knapp                                             Case No.
                                        Debtor                                                                                      (if known)

                                                                                              Chapter                                    11



                                                            SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical
Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




            NAME OF SCHEDULE                             ATTACHED             NO. OF SHEETS               ASSETS               LIABILITIES                 OTHER
                                                          (YES/NO)

 A - Real Property
                                                              Yes                      2                 $1,920,002.00


 B - Personal Property
                                                              Yes                      6                 $1,143,601.00


 C - Property Claimed
                                                              Yes                      2
     as Exempt


 D - Creditors Holding
                                                              Yes                      2                                         $1,363,350.38
     Secured Claims


 E - Creditors Holding Unsecured
                                                              Yes                      3                                                   0.00
     Priority Claims


 F - Creditors Holding Unsecured
                                                              Yes                      2                                           $126,013.46
      Nonpriority Claims


 G - Executory Contracts and
                                                              Yes                      1
     Unexpired Leases


 H - Codebtors                                                                         1
                                                              Yes


 I - Current Income of
                                                              Yes                      1                                                                     8,167.00
     Individual Debtor(s)


 J - Current Expenditures of
                                                              Yes                      1                                                                     8,227.82
     Individual Debtor(s)


                                                     TOTAL                                    21           $3063603.00            $1489363.84
B 6 Summary (Official Form 6- Summary)(12/14)
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                                         UNITED STATES BANKRUPTCY COURT
                                                                        District of SC

In Re:                          Marc Keith Knapp                                          Case No.
                                       Debtor                                                                                  (if known)

                                                                                          Chapter                                   11



           STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

      If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

             Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



  Type of Liability                                                                      Amount
Domestic Support Obligations (from Schedule E)
Taxes and Certain Other Debts Owed to Governmental Units
(from Schedule E)(whether disputed or undisputed)

Claims for Death or Personal Injury While Debtor Was
Intoxicated (from Schedule E)(whether disputedor undisputed)

Student Loan Obligations (from Schedule F)
Domestic Support, Separation Agreement, and Divorce Decree
Obligations Not Reported on Schedule E

Obligations to Pension or Profit-Sharing, and Other Similar
Obligations (from Schedule F)

                                                                           TOTAL

  State the following:
Average Income (from Schedule I, Line 12)                                                     10,817.00
Average Expenses (from Schedule J, Line 22)                                                     8,227.82
Current Monthly Income (from Form 22A-1 Line 11; OR, Form
22B Line 14; OR, Form 22C-1 Line 14)                                                                0.00


  State the following:
1. Total from Schedule D, "UNSECURED PORTION, IF
ANY" COLUMN                                                                                                       $133,109.94

2. Total from Schedule E, "AMOUNT ENTITLED TO
PRIORITY" column.

3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
PRIORITY, IF ANY" column.

4. Total from Schedule F                                                                                          $126,013.46
5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       $259123.40
Official Form 6A (12/07)
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In Re:                           Marc Keith Knapp              Document Page    8 of
                                                                              Case No.53
                                        Debtor                                                                                                  (if known)



                                                           SCHEDULE A - REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
    tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
    the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H", "W", "J", or "C" in the
    column labeled "Husband, Wife, Joint or Community". If the debtor holds no interest in real property, write "None" under "Description and Location
    of Property".

     Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
    Unexpired Leases.

      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
    to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim".

     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
    Claimed as Exempt.




                                                                                                      Husband, Wife, Joint,
                                                                                                      or Community
                                                                                                                              Current Value of
                                                                                                                              Debtor's Interest in
                                                                                                                              Property Without
                                                                   Nature of Debtor's                                         Deducting Any Secured       Amount of
                                                                   Interest in Property                                       Claim or Exemption          Secured Claim
Description and Location of Property
5695 Captain Kidd Road AKA 5702 Captain                            Fee simple                              H                                900,000.00                    860,000.00
Kidd Road
Charleston, SC
2851300044


2258 Pristine View                                                 Joint tenant                              J                               2l0,000.00                   237,945.00
Charleston, sC 29407
3101100122
jointly owned with Joanne Knapp, spouse of debtor


60 Snake Bite Hollar                                               Joint tenant                               j                              20,000.00                    105,000.00
Burnsville, NC 28714
27 acres with house. Land is being tree farmed. JT
with
with spouse and Crummey Trust

6145 Savanah Highway                                               Fee simple                              H                                850,000.00                          0.00
Charleston, South Carolina
commercial property with building and land
187000318
Official Form 6B (12/07)
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                                                                              Case No.53
                                        Debtor                                                                                                 (if known)



                                                     SCHEDULE B - PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
 place an "X" in the appropriate position in the column labeled "None". If additional space is needed in any category, attach a separate sheet properly
 identified with the same case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the
 property by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint or Community". If the debtor is an individual or a joint
 petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
 Unexpired Leases.

 If the property is being held for the debtor by someone else, state the person's name and address under "Description and Location of Property".
 If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                   Husband, Wife, Joint,
                                                                                                                                   or Community
                                                                                                                                                           Current Value of
                                                                                                                                                           Debtor's Interest in
                                                                                                                                                           Property Without
                                                                                                                                                           Deducting Any Secured
Type of Property                                               None Description and Location of Property                                                   Claim or Exemption

1. Cash on hand.                                                        cash                                                                                                        120.00




2. Checking, savings or other financial                                 Tidelands Bank 6291                                                                                        4000.00
accounts, CD's, or shares in banks, savings
and loan, thrift, building and loan, and
homestead associations, or credit unions,
brokerage houses or cooperatives.

3. Security deposits with public utilities,                             Security Deposit Egret Drive                                     J                                         1,200.00
telephone companies, landlords, and others.                             in Tidelands Account 6341




4. Household goods and furnishings, including                           furniture in home including dining, kitchen                      J                                         4,000.00
audio, video, and computer equipment.                                   bedroom and similar items. Debtor does not
                                                                        own
                                                                        any antique or valuable furniture. Total value
                                                                        8,000.00
Official Form 6B (12/07)
         Case 15-00277-jw               Doc 1        Filed 01/19/15 Entered 01/19/15 21:52:53                                Desc Main
In Re:                      Marc Keith Knapp         Document PageCase10 No.
                                                                         of 53
                                  Debtor                                                                     (if known)




                                                                                                 Husband, Wife, Joint,
                                                                                                 or Community
                                                                                                                         Current Value of
                                                                                                                         Debtor's Interest in
                                                                                                                         Property Without
                                                                                                                         Deducting Any Secured
Type of Property                                     None Description and Location of Property                           Claim or Exemption
5. Books, pictures and other art objects,                  books and pictures minimal value          H                                           100.00
antiques, stamp, coin, record, tape, compact
disc, and other collections or collectibles.




6. Wearing apparel.                                        men's clothing and shoes                  H                                           200.00




7. Furs and jewelry.                                       ring, watch                               H                                           200.00




8. Firearms and sports, photographic, and                  22 caliber rifle and fishing rod          H                                           125.00
other hobby equipment.




9. Interests in insurance policies. Name              X
insurance company of each policy and itemize
surrender or refund value of each.




10. Annuities. Itemize and name each issuer.          X




11. Interests in an education IRA as defined in       X
26 U.S.C. § 530(b)(1) or under a qualified State
tuition plan as defined in 26 U.S.C. § 529(b)(1).
Give particulars.



12. Interest in IRA, ERISA, Keogh, or other                Fidelity Investments IRA                  H                                           256.00
pension or profit sharing plans. Give particulars.
Official Form 6B (12/07)
          Case 15-00277-jw                Doc 1       Filed 01/19/15 Entered 01/19/15 21:52:53                                 Desc Main
In Re:                       Marc Keith Knapp         Document PageCase11 No.
                                                                          of 53
                                   Debtor                                                                      (if known)




                                                                                                   Husband, Wife, Joint,
                                                                                                   or Community
                                                                                                                           Current Value of
                                                                                                                           Debtor's Interest in
                                                                                                                           Property Without
                                                                                                                           Deducting Any Secured
Type of Property                                      None Description and Location of Property                            Claim or Exemption
13. Stock and interests in incorporated and                 Charleston Site Utilities, LLC owned         J                                         200.00
unincorporated businesses. Itemize.                         95by debtor and 5by spouse




14. Interests in partnerships or joint                 X
ventures. Itemize.




15. Government and corporate bonds and other           X
negotiable and non-negotiable instruments.




16. Accounts receivable.                               X




17. Alimony, maintenance, support, and                 X
property settlements to which the debtor is or
may be entitled. Give particulars.




18. Other liquidated debts owing debtor                X
including tax refunds. Give particulars.




19. Equitable or future interest, life estates, and    X
rights or powers exercisable for the benefit of
the debtor other than those listed in Schedule A
- Real Property.



20. Contingent and noncontingent interests in          X
real estate of a decendent, death benefit plan,
life insurance policy, or trust.
Official Form 6B (12/07)
         Case 15-00277-jw                Doc 1        Filed 01/19/15 Entered 01/19/15 21:52:53                                        Desc Main
In Re:                       Marc Keith Knapp         Document PageCase12 No.
                                                                          of 53
                                   Debtor                                                                             (if known)




                                                                                                          Husband, Wife, Joint,
                                                                                                          or Community
                                                                                                                                  Current Value of
                                                                                                                                  Debtor's Interest in
                                                                                                                                  Property Without
                                                                                                                                  Deducting Any Secured
Type of Property                                      None Description and Location of Property                                   Claim or Exemption
21. Other contingent or unliquidated claims of              Claim against Joan Spivey believed to be          H                                      350,000.00
every nature, including tax refunds, counter-               worth more than is owed to creditor
claims of the debtor, and rights to setoff claims.
Give estimated value of each.



21. Other contingent or unliquidated claims of              Claim for Probate Court debtor's mother           H                                    1,200.000.00
every nature, including tax refunds, counter-               Debtor has been not paid all the money
claims of the debtor, and rights to setoff claims.          owed to him.
Give estimated value of each.



21. Other contingent or unliquidated claims of              Corporation & Debtor claim against Bishop &         J                                    500,000.00
every nature, including tax refunds, counter-
claims of the debtor, and rights to setoff claims.          Bishop Plumbing
Give estimated value of each.



22. Patents, copyrights, and other intellectual        X
property. Give particulars.




23. Licenses, franchises, and other general            X
intangibles. Give particulars.




24. Customer lists or other compilations contain-      X
ing personally identifiable information provided
to the debtor by individuals in connection with
obtaining a product or service from the debtor pri-
marily for personal, family, or household purposes.

25. Motor Vehicle                                           2002 Porche 911                                   H                                       20,000.00
                                                            WP0CA29942S654353
                                                            30,000 miles




25. Motor Vehicle                                           2005 Ford Excursion                               H                                           3,000.00
                                                            1FMSU45P45EB13093
                                                            302,000 miles
Official Form 6B (12/07)
         Case 15-00277-jw                Doc 1     Filed 01/19/15 Entered 01/19/15 21:52:53                                        Desc Main
In Re:                      Marc Keith Knapp       Document PageCase13 No.
                                                                       of 53
                                 Debtor                                                                            (if known)




                                                                                                       Husband, Wife, Joint,
                                                                                                       or Community
                                                                                                                               Current Value of
                                                                                                                               Debtor's Interest in
                                                                                                                               Property Without
                                                                                                                               Deducting Any Secured
Type of Property                                   None Description and Location of Property                                   Claim or Exemption
26. Boats, motors, and accessories.                      2002 Sea Fox 21 ft boat, motor & trailer          H                                           1,000.00
                                                         Poor condition has not been run in 12 mths.
                                                         Needs major tune up Mercury motor 1135D8




27. Aircraft and accessories.                       X




28. Office equipment, furnishings, and supplies.    X




29. Machinery, fixtures, equipment, and             X
supplies used in business.




30. Inventory.                                      X




31. Animals.                                        X




32. Crops - growing or harvested. Give              X
particulars.




33. Farming equipment and implements.               X
Official Form 6B (12/07)
         Case 15-00277-jw                 Doc 1   Filed 01/19/15 Entered 01/19/15 21:52:53                                              Desc Main
In Re:                     Marc Keith Knapp       Document PageCase14 No.
                                                                      of 53
                                 Debtor                                                                                 (if known)




                                                                                                            Husband, Wife, Joint,
                                                                                                            or Community
                                                                                                                                    Current Value of
                                                                                                                                    Debtor's Interest in
                                                                                                                                    Property Without
                                                                                                                                    Deducting Any Secured
Type of Property                                  None Description and Location of Property                                         Claim or Exemption
34. Farm supplies, chemicals, and feed.            X




35. Other personal property of any kind not             Receivables of Charleston Site Utilities.                 J                                         58000.00
already listed. Itemize.
                                                        as of 12-31-2014 Debtor has loaned
                                                        corporation
                                                        57,716.88. All may not be collectable.




                                                                                                    Total                                           $1,143,601.00
 B6C (Official Form 6C) (04/13)
            Case 15-00277-jw                   Doc 1          Filed 01/19/15 Entered 01/19/15 21:52:53                             Desc Main
 In Re:                          Marc Keith Knapp             Document PageCase15 No.
                                                                                  of 53
                                        Debtor                                                                            (if known)



                                           SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                       $155,675.*
     11 U.S.C. § 522(b)(2)
     11 U.S.C. § 522(b)(3)




                                                                                                                                  Current Value of
                                                                  Specify Law Providing         Value of Claimed                  Property Without
 Description of Property                                          Each Exemption                Exemption                         Deducting Exemption
  5695 Captain Kidd Road AKA 5702 Captain                         15-30-41(A)(1)                                     20,000.00                    900,000.00
  Kidd Road
  Charleston, SC
  2851300044


  cash                                                            15-41-30(A)(7) homestead                               120.00                      120.00




  Tidelands Bank 6291                                             15-41-30(A)(7) unused                                4,000.00                     4000.00
                                                                  homestead




  furniture in home including dining, kitchen                     15-41-30(A)(3)                                       4,000.00                     4,000.00
  bedroom and similar items. Debtor does not own
  any antique or valuable furniture. Total value
  8,000.00


  books and pictures minimal value                                15-41-30(A)(3)                                         100.00                      100.00
B6C (Official Form 6C) (04/13)
         Case 15-00277-jw              Doc 1   Filed 01/19/15 Entered 01/19/15 21:52:53                    Desc Main
In Re:                      Marc Keith Knapp   Document PageCase16 No.
                                                                   of 53
                                 Debtor                                                            (if known)




                                                                                                           Current Value of
                                                Specify Law Providing        Value of Claimed              Property Without
Description of Property                         Each Exemption               Exemption                     Deducting Exemption
men's clothing and shoes                         15-41-30(A)(3)                                  200.00                      200.00




ring, watch                                      15-41-30(A)(4)                                  200.00                      200.00




Fidelity Investments IRA                         15-41-30(A)(13)                                 256.00                      256.00




Charleston Site Utilities, LLC owned             15-41-30(A)(7) unused                                                       200.00
95by debtor and 5by spouse                       wildcard




2002 Porche 911                                  15-41-30(A)(2)                                 5,625.00                   20,000.00
WP0CA29942S654353
30,000 miles



2005 Ford Excursion                              15-41-30(A)(7) from unsed                      3,000.00                    3,000.00
1FMSU45P45EB13093                                on home
302,000 miles
Official Form 6D (12/07)
             Case 15-00277-jw                  Doc 1           Filed 01/19/15 Entered 01/19/15 21:52:53                                                                        Desc Main
In Re:                           Marc Keith Knapp              Document PageCase17 No.
                                                                                   of 53
                                        Debtor                                                                                                                      (if known)



                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
 property of the debtor as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is useful
 to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
 judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
        List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112
 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
 entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife,
 both of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife,
 Joint, or Community".
        If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
 labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of
 these three columns.)
        Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes
 labeled "Total(s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value
 of Collateral" also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.


                  Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                            Husband, Wife, Joint,
                                                            or Community




                                                                                                                                   Unliquidated
                                                                                                                      Contingent
                                                                                    Date Claim was Incurred,                                                 Amount of
                                                            Codebtor




                                                                                                                                                  Disputed
                                                                                    Nature of Lien, and Description                                          Claim Without
Creditor's Name and Mailing Address                                                 and Value of Property                                                    Deducting                   Unsecured
Including Zip Code                                                                  Subject to Lien                                                          Value of Collateral         Portion, If Any
Account Number:                                                    J                2412 Egret Lane condo &                                                             160,164.94                 10,164.94
Wells Fargo Home Mortgage                                                           2426 Garage
PO Box 660455                                                                       2007 co w Jennifer Knapp
Dallas, TX 75266

                                                                                    VALUE $            150,000.00
Account Number:                                                    J                Egret Lane HOA dues                                                                        240.44                     0.00
Colony at Heron Reserve
c/o Community Management Group, LLC                                                 co owned Jennifer Knapp
349 Folly Road, # 28
Charleston, SC 29412-2508
                                                                                    VALUE $            150,000.00
Account Number:                                                                     60 Snake Bite Hollar                                          X                     105,000.00                 95,000.00
Joan Spivey                                                                         Burnsville, NC 28714
52 Broad Street                                                                     2007
Waynesville, NC 28786

                                                                                    VALUE $             10,000.00
                                                                                                                         Subtotal
                                                                                                              (Total of this page)                                     $265,405.38              $105,164.94
                                                                                                                             Total
                                                                                                           (Use only on last page)
                                                                                                                                                             (Report also on            (If applicable, report
                                                                                                                                                             Summary of                 also on Statistical
                                                                                                                                                             Schedules.)                Summary of Certain
                                                                                                                                                                                        Liabilities and Related
                                                                                                                                                                                        Data.)
         1   continuation sheets attached
Official Form 6D (12/07)
          Case 15-00277-jw              Doc 1         Filed 01/19/15 Entered 01/19/15 21:52:53                                                                         Desc Main
In Re:                       Marc Keith Knapp         Document PageCase18 No.
                                                                          of 53
                                  Debtor                                                                                                                    (if known)




                                                   Husband, Wife, Joint,
                                                   or Community




                                                                                                                           Unliquidated
                                                                                                              Contingent
                                                   Codebtor
                                                                           Date Claim was Incurred,                                                  Amount of




                                                                                                                                          Disputed
                                                                           Nature of Lien, and Description                                           Claim Without
Creditor's Name and Mailing Address                                        and Value of Property                                                     Deducting                Unsecured
Including Zip Code                                                         Subject to Lien                                                           Value of Collateral      Portion, If Any
Account Number:                                                            5695 Captain Kidd Road                                         X                     860,000.00                     0.00
South State Bank                                                           Hollywood, SC
2420 Mall Drive                                                            2008 loan
N. Charleston, SC 29420

                                                                           VALUE $              900,000.00
Account Number:                                           J                2258 Pristine View                                                                   237,945.00              27,945.00
Ocwen Loan Servicing
PO Box 780                                                                 2007 refinanced co w Joanne
Waterloo, IA 50704-0780                                                    Knapp

                                                                           VALUE $              210,000.00
Account Number:




                                                                           VALUE $
Account Number:




                                                                           VALUE $
Account Number:




                                                                           VALUE $
Account Number:




                                                                           VALUE $
Account Number:




                                                                           VALUE $
                                                                                                                 Subtotal
                                                                                                      (Total of this page)                                   $1,097,945.00            $27,945.00
                                                                                                                     Total
                                                                                                   (Use only on last page)                                   $1,363,350.38           $133,109.94
                                                                                                                                                     (Report also on         (If applicable, report
                                                                                                                                                     Summary of              also on Statistical
                                                                                                                                                     Schedules.)             Summary of Certain
Sheet no. 1 of 1 continuation sheets attached to                                                                                                                             Liabilities and Related
Schedule of Creditors Holding Secured Claims                                                                                                                                 Data.)
B6E (Official Form 6E )(04/13)
         Case 15-00277-jw                      Doc 1           Filed 01/19/15 Entered 01/19/15 21:52:53                                           Desc Main
In Re:                           Marc Keith Knapp              Document PageCase19 No.
                                                                                   of 53
                                        Debtor                                                                                          (if known)



                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
    unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
    including zip code, and last four digits of the account number, if any, of all entitires holding priority claims against the debtor or the property of the
    debtor, as of the date of the filing of this petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
    debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
    "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the
    entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both
    of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or
    Community." If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column
    labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of
    these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
    E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
    entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
    primarily consumer debts who file a case under chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related
    Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
    amounts not entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors
    with primarily conusmer debts who file a case under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related
    Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS                         (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

          Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
    11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
    independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or
    the cessation of business, whichever occured first, to the extend provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
B6E (Official Form 6E )(04/13)
             Case 15-00277-jw                 Doc 1          Filed 01/19/15 Entered 01/19/15 21:52:53                                         Desc Main
In Re:                           Marc Keith Knapp            Document PageCase20 No.
                                                                                 of 53
                                       Debtor                                                                                         (if known)




         Certain farmers and fishermen
  Claims of certain farmers and fishermen, up to $6,150* per farmer of fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
  Claims of individuals up to $2,775* deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
  that were not delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and Certain Other Debts Owed to Governmental Units
  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to Maintain the Capital of an Insured Depository Institution
  Claims based on commitments to the FDIC, RTR, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
  Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
  U.S.C. § 507(a)(9).

         Claims for Death or Personal Injury While Debtor Was Intoxicated
  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
  alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




  * Amounts are subject to adjustment on 04/01/16, and every three years thereafter with respect to cases commenced on or after the date of
  adjustment.




         1   continuation sheets attached
 B6E (Official Form 6E )(04/13)
           Case 15-00277-jw                  Doc 1           Filed 01/19/15 Entered 01/19/15 21:52:53                                                                   Desc Main
 In Re:                         Marc Keith Knapp             Document PageCase21 No.
                                                                                 of 53
                                      Debtor                                                                                                                    (if known)


                                                                                                         Type of Priority




                                                          Husband, Wife, Joint,
                                                          or Community




                                                                                                                              Unliquidated
                                                                                                                                                                     Amount          Amount Not




                                                                                                                 Contingent
                                                                                  Date Claim was Incurred,




                                                          Codebtor
                                                                                                                                                        Total Amount Entitled        Entitled to




                                                                                                                                             Disputed
Creditor's Name and Mailing Address                                               and Consideration for
Including Zip Code                                                                                                                                      of Claim     to Priority     Priority, If
                                                                                  Claim                                                                                              Any

Account Number:                                                                   notice only
SC Department of Revenue
PO Box 125
Columbia, SC 29211


Account Number:




Account Number:




Account Number:




Account Number:




Account Number:




                                                                                                                  Subtotal
                                                                                                       (Total of this page)                                    $0.00         $0.00          $0.00

                                                                                                                       Total
                                                                     (Use only on last page of the completed
                                                                     Schedule E. Report also on the Summary
                                                                     of Schedules.)

                                                                                                                       Totals
                                                                     (Use only on last page of the completed
                                                                     Schedule E. If applicable, report also on
Sheet no. 1 of 1 continuation sheets attached to                     the Statistical Summary of Certain
Schedule of Creditors Holding Unsecured Priority Claims              Liabilities and Related Data.)
Official Form 6F (12/07)
             Case 15-00277-jw                   Doc 1           Filed 01/19/15 Entered 01/19/15 21:52:53                                                               Desc Main
In Re:                            Marc Keith Knapp              Document PageCase22 No.
                                                                                    of 53
                                         Debtor                                                                                              (if known)



                   SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor", include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
     If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated".
If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical
Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                             Husband, Wife, Joint,
                                                             or Community




                                                                                                                                                            Unliquidated
                                                                                                                                               Contingent
Creditor's Name and Mailing Address                                                  Date Claim was Incurred and
                                                             Codebtor




                                                                                                                                                                           Disputed
Including Zip Code,                                                                  Consideration for Claim. If Claim is
and Account Number                                                                   Subject to Setoff, so State.
                                                                                                                                                                                      Amount of Claim
Account Number:                                                                      Credit card                                                                                                17,012.46
Wells Fargo Card Services
PO Box 30086                                                                         2007-2012
Los Angeles, CA 90030


Account Number:                                                                      former joint venture on construction project                                          X                            1.00
Bishop & Bishop Plumbing & Piping, LLC                                               in dispute and in litigation prior to filing this
2407 Sol Legare Road                                                                 case
Charleston, SC 29412                                                                 2013


Account Number:                                                          J           amount owed in dispute.                                                               X                    25,000.00
Ferguson                                                                             2013
4711 Rivers Ave
North Charleston, SC 29405                                                           Debt is also owed by Charleston Site
                                                                                     Utilities

Account Number:                                                                      Attorney fees earned over last 18 months                                                                   70,000.00
Donald Howe, Esquire
PO Box 598                                                                           2009-2012
Charleston, SC 29402


                                                                                                                                                        Subtotal
                                                                                                                                                                                              $112,013.46
         0    continuation sheets attached                                                                                                           Total
                                                                                                    (Use only on last page of the completed Schedule F.)                                      $112,013.46
                                                                                (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                     Summary of Certain Liabilities and Related Data.)
 Official Form 6F (12/07)
           Case 15-00277-jw                 Doc 1            Filed 01/19/15 Entered 01/19/15 21:52:53                                                             Desc Main
 In Re:                        Marc Keith Knapp              Document PageCase23 No.
                                                                                 of 53
                                      Debtor                                                                                            (if known)




                                                        Husband, Wife, Joint,
                                                        or Community




                                                                                                                                                       Unliquidated
                                                                                                                                          Contingent
Creditor's Name and Mailing Address                                             Date Claim was Incurred and




                                                        Codebtor




                                                                                                                                                                      Disputed
Including Zip Code,                                                             Consideration for Claim. If Claim is
and Account Number                                                              Subject to Setoff, so State.
                                                                                                                                                                                 Amount of Claim
Account Number:                                                                 2011 remaining balance for monies owed for                                                                 14,000.00
Edward Cox                                                                       purchase of creditor's interest in
6057 Mossy Grove Lane                                                           Charleston Site Utilities, Inc.
Awendaw, SC 29429


Account Number:




Account Number:




Account Number:




Account Number:




Account Number:




Account Number:




                                                                                                                                                   Subtotal
                                                                                                                                                                                          $14,000.00
                                                                                                                                                Total
                                                                                               (Use only on last page of the completed Schedule F.)                                      $126,013.46
                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                Summary of Certain Liabilities and Related Data.)

Sheet no. 1 of 1 continuation sheets attached to
Schedule of Creditors Holding Unsecured Nonpriority Claims
Official Form 6G (12/07)
            Case 15-00277-jw                      Doc 1          Filed 01/19/15 Entered 01/19/15 21:52:53                                        Desc Main
In Re:                             Marc Keith Knapp              Document PageCase24 No.
                                                                                     of 53
                                          Debtor                                                                                          (if known)



                             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
         Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
         interests. State nature of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or
         lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
         a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
         or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112 and
         Fed. R. Bankr. P. 1007(m).

         Check this box if debtor has no executory contracts or unexpired leases.




                                                                                            Description of Contract or Lease and Nature of Debtor's
                                                                                            Interest. State Whether Lease is for Nonresidential Real
Name and Mailing Address, Including Zip Code,                                               Property. State Contract Number of Any Government
of Other Parties to Lease or Contract                                                       Contract
Peggy Hayes                                                                                 2412 & 2428 Egret Crest
2412 Egret Crest                                                                            Condo & Gargage
Charleston SC 29414
Official Form 6H (12/07)
          Case 15-00277-jw                     Doc 1         Filed 01/19/15 Entered 01/19/15 21:52:53                                         Desc Main
In Re:                          Marc Keith Knapp             Document PageCase25 No.
                                                                                 of 53
                                       Debtor                                                                                       (if known)



                                                              SCHEDULE H - CODEBTORS
      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
    debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth,or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any
    former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
    nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
    child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
    child's name. See, 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

         Check this box if debtor has no codebtors.


Name and Mailing Address of Codebtor                                                   Name and Mailing Address of Creditor

Joanne J. Knapp                                                                        Ocwen Loan Servicing
5695 Captain Kidd Road                                                                 PO Box 780
Hollywood, SC 29449                                                                    Waterloo, IA 50704-0780

Jennifer Knapp                                                                         Wells Fargo Home Mortgage
2258 Pristine View                                                                     PO Box 660455
Charleston, SC 29414                                                                   Dallas, TX 75266

Charleston Site Utilities                                                              Feguson
PO Box 30794                                                                           4711 Rivers Ave
Charleston, SC 29417                                                                   North Charleston, SC 29412

Michael J. Knapp Crumley Trust                                                         Joan Spivey
5695 Captain Kidd Road                                                                 52 Broad Street
Hollywood, SC 29449                                                                    Waynesville, NC 28786

Joanne J. Knapp                                                                        Joan Spivey
5695 Captain Kidd Road                                                                 52 Broad Street
Hollywood, SC 29449                                                                    Waynesville, NC 28786
Case 15-00277-jw       Doc 1         Filed 01/19/15 Entered 01/19/15 21:52:53                                Desc Main
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   Marc               Keith                     Knapp




                   District of South Carolina




                                                  X                                          X



                                                Construction                                Administrative


                                                Charleston Site Utilities, LLC              Charleston Site Utilities


                                                6145 Savanah Highway                        6145 Savanah Highway




                                                Charleston         SC        29414          Charleston              SC   29414


                                                      7 years                                 2 years




                                                                                 6,500.00            2,000.00




                                                                                 6,500.00            2,000.00
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       Marc   Keith               Knapp
                                           Document Page 27 of 53



                                                                                         6,500.00   2,000.00



                                                                                         1,495.00    338.00




                                                                                         1,495.00    338.00

                                                                                         5,005.00   1,662.00




                                                                                         4150.00




                                                                                         4,150.00       0.00

                                                                                         9,155.00   1,662.00     10,817.00




                                                                                                                 10,817.00




X             Business is finally picking up. Expect to increase income in coming year
    Case 15-00277-jw       Doc 1   Filed 01/19/15 Entered 01/19/15 21:52:53   Desc Main
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       Marc            Keith            Knapp




X




                       X

                                                  wife                 62
                                                                                 X




                       X




                                                                                     3,741.30



                                                                                      400.00
                                                                                      300.00
                                                                                      100.00

                                                                                       30.00
Case 15-00277-jw   Doc 1     Filed 01/19/15 Entered 01/19/15 21:52:53   Desc Main
                             Document Page 29 of 53
   Marc   Keith      Knapp




                                                                              250.00
                                                                               40.00
                                                                                 0.00


                                                                              500.00



                                                                               75.00

                                                                               25.00
                                                                               60.00

                                                                              100.00

                                                                              100.00




                                                                             1,466.52
Case 15-00277-jw              Doc 1        Filed 01/19/15 Entered 01/19/15 21:52:53   Desc Main
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   Marc        Keith               Knapp




          Egret Drive mortgage 780.00 mortgage, 230.00 HOA, wate 30.00                     1,040.00



                                                                                           8,227.82




                                                                                          10,817.00


                                                                                           8,227.82


                                                                                           2,589.18
           Case 15-00277-jw                   Doc 1         Filed 01/19/15 Entered 01/19/15 21:52:53                                          Desc Main
In Re:                          Marc Keith Knapp            Document PageCase31 No.
                                                                                of 53
                                       Debtor                                                                                     (if known)


                                    DECLARATION CONCERNING DEBTOR(S) SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 21 sheets (total shown on
           summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.


                     January 19, 2015                                                                          /s/ Marc Keith Knapp

                             Date                                                                               Marc Keith Knapp

                     January 19, 2015

                             Date                                                                           Signature of Joint Debtor

                                                                            * * * * * *


                                  DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
  compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
  110(h), and 342(b); (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
  chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
  debtor or accepting any fee from the debtor, as required under that section; and (4) I will not accept any additional money or other property from
  the debtor before the filing fee is paid in full.


   Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                          Social-Security No. (Required by 11 U.S.C. § 110.)
  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal, responsible
  person or partner who signs this document.




         Address

   X
         Signature of Bankruptcy Petition Preparer                                        Date
  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
  not an individual:
  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
  A bankruptcy petition preparer's failure to comply with the provisions of Title 11 and the Federal Rules of Bankruptcy Procedure may result in
  fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




                                                                            * * * * * *

                DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                    I, ____________________________ named as debtor in this case, declare under penalty of perjury
                    that I have read the foregoing summary of schedules, consisting of sheets (total shown on summary
                    page plus 1), and that the are true and correct to the best of my knowledge, information, and belief.




                           Date                                                                          Signature of Authorized Individual

         Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisionment for up to 5 years or both.
         18 U.S.C. § 152 and 3571.
                                                                                                                                                      Knapp Page 1
B7(Official Form 7)(04/13)
         Case 15-00277-jw                      Doc 1          Filed 01/19/15 Entered 01/19/15 21:52:53                                               Desc Main
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                                                    FORM 7. STATEMENT OF FINANCIAL AFFAIRS

                                          UNITED STATES BANKRUPTCY COURT
                                                                            District of SC

In Re:                          Marc Keith Knapp                                                Case No.
                                       Debtor                                                                                           (if known)

                                                     STATEMENT OF FINANCIAL AFFAIRS
                  This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
          the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
          information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
          filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
          should provide the information requested on this statement concerning all such activities as well as the individual's personal
          affairs. To indicate payments, transfer and the like to minor children, state the child's initials and the name and address of the
          child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
          § 112 and Fed. R. Bankr. P. 1007(m).
                  Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
          must complete Questions 19-25.          If the answer to an applicable question is "None", mark the box labeled "None".
          If additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
          name, case number (if known), and the number of the question.

                                                                                 DEFINITIONS

                   "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
          individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
          the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
          of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
          self-employed full-time or part-time. An individual debtor also may be "in business" for the purpose of this form if the debtor
          engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor's primary
          employment.

                  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
          their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
          control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
          the debtor. 11 U.S.C. § 101(2), (31).


None           1. Income from employment or operation of business

               State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
               the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
               beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
               two years immediately preceding this calender year. (A debtor that maintains, or has maintained, financial records on
               the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
               of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                   Amount                                       Source
             78,000.00     2011                               income from business
             12,000.00     2012
             12,000.00     2013
             78,000.00     2014
              4,500.00     2015
                                                                                                                                                  Knapp Page 2

       Case  15-00277-jw
         2. Income              Doc
                   other than from   1 Filed
                                   employment    01/19/15
                                              or operation       Entered 01/19/15 21:52:53
                                                           of business                                                                          Desc Main
                                          Document Page 33 of 53
None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
           joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
           must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
           petition is not filed.)
               Amount                                       Source
           12,000.00 2011                                  Rental Income
           10,770.00 2012                                  Rental Income
            8,200.00 2013                                  Rental Income
           21,100 2014                                     Rental Income
           11,000.00 2011                                  IRA distribution
           54,000.00 2014                                  Draw from Charleston Site to pay taxes
            1,050.00 2015                                  Rental Income




           3. Payments to creditors
None         Complete a. or b., as appropriate, and c.
             a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
             of goods or services, and other debts, aggregating more than $600 to any creditor, [except for a debt on account
             of a domestic support obligation,] made within 90 days immediately preceding the commencement of this case.
             Indcate with an * any payments that were made to the creditor on account of a domestic support obligation or as
             part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling
             agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
             whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                 Dates of                                Amount                                 Amount
           Name and Address of Creditor                          Payments                                Paid                                   Still Owing

          Ocwen Mortgage                                        Nov & Dec 2014                       $5,400.00                                 237,925.00
                                                                Jan 2015
          Charleston County Treasurer
                                                                December 2014                        47,000.00                                 0.00




None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
              within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
              constitutes or is affected by such transfer is less than $6,255. If the debtor is an individual, indicate with an asterisk (*)
              any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
              repayment schedule under a plan by an approved nonprofit budgeting and credit counselig agency. (Married
              debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.

                                                            Dates of Payments/                      Amount Paid or                              Amount
       Name and Address of Creditor                         Transfers                               Value of Transfers                          Still Owing
                                                                                                                                              Knapp Page 3

               Case 15-00277-jw                    Doc 1         Filed 01/19/15 Entered 01/19/15 21:52:53                                  Desc Main
                                                                 Document Page 34 of 53
    None            c. All debtors: List all payment made within one year immediately preceding the commencement of this case
                       to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or
                       chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless
                       the spouses are separated and a joint petition is not filed.)


    Name and Address of Creditor                                    Date                                        Amount                      Amount
    and Relationship to Debtor                                      of Payment                                  Paid                        Still Owing




                    4. Suits and administrative proceedings, executions, garnishments and attachments

    None            a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                      information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
                      separated and a joint petition is not filed.)
    Caption of Suit                                                                                       Court or Agency                   Status or
    and Case Number                                               Nature of Proceeding                    and Location                      Disposition

South State Bank V Knapp                                     Foreclosue                               Charleston Common Pleas             Pending sale
12-CP-10-7599

First Citizens v Knapp                                       Collection on debt                                                           Ongoing
12-CP-10-5040
Vulcan v Knapp 14-153                                        Breach of Contract                                                           Settled by corp.
Ferguson v Knapp                                             Collection on Debt                                                           Ongoing
13-CP-10-5997
Bishop v Knapp 13-CP-10-2046                                 partnership dispute                                                          Ongoing
                                                                                                                                           Knapp Page 4

None      Case  15-00277-jw
            b. Describe                    Doc
                        all property that has      1 Filed
                                              been attached,       01/19/15
                                                             garnished  or seized under Entered        01/19/15
                                                                                        any legal or equitable         21:52:53
                                                                                                               process within one         Desc Main
              year immediately preceding the commencement Document                 Page
                                                               of this case. (Married       35
                                                                                      debtors     ofunder
                                                                                              filing   53 chapter 12 or chapter
                 13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                 unless the spouses are separated and a joint petition is not filed.)
Name and Address of Person for Whose                                 Date of                                   Description and
Benefit Property was Seized                                          Seizure                                   Value of Property




              5. Repossessions, foreclosures and returns

None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
              of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
              (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     Date of Repossession,
          Name and Address of                                        Foreclosure Sale,                         Description and Value
          Creditor or Seller                                         Transfer or Return                        of Property
                                                                                                                                              Knapp Page 5

           Case  15-00277-jw
             6. Assignments         Doc 1 Filed 01/19/15 Entered 01/19/15 21:52:53
                            and receiverships                                                                                            Desc Main
                                              Document Page 36 of 53
None            a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
                  commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment
                  by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                  petition is not filed.)
                  Name and Address                                   Date of                                            Terms of Assignment
                  of Assignee                                        Assignment                                         or Settlement




None         b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
                immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                must include information concerning property of either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)
Name and Address                                     Name and Location of Court                                                          Description and
of Custodian                                         Case Title & Number                            Date of Order                        Value of Property
                                                                                                                                                     Knapp Page 6

               Case  15-00277-jw
                 7. Gifts                           Doc 1          Filed 01/19/15 Entered 01/19/15 21:52:53                                     Desc Main
                                                                   Document Page 37 of 53
    None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
                    except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                    and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                    chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                    the spouses are separated and a joint petition is not filed.)
    Name and Address of Person                                   Relationship to                                                                Description and
    or Organization                                              Debtor, if any                            Date of Gift                         Value of Gift




                    8. Losses

    None            List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
                    of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                    include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                    joint petition is not filed.)
                                                                            Description of Circumstances and, if
    Description and Value                                                   Loss was Covered in Whole or in Part
    of Property                                                             by Insurance, Give Particulars.                                      Date of Loss




                    9. Payments related to debt counseling or bankruptcy

    None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
                    consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
                    within one year immediately preceding the commencement of this case.
    Name and Address                                     Date of Payment, Name of                                   Amount of Money or Description
    of Payee                                             Payor if other than Debtor                                 and Value of Property
Davis Law Firm                                                          November 2014                              1717.00


$10 Debtor Education                                                    January 6, 2015                            10.00
                                                                                                                                                      Knapp Page 7

           Case
             10. 15-00277-jw
                 Other transfers                Doc 1          Filed 01/19/15 Entered 01/19/15 21:52:53                                          Desc Main
                                                               Document Page 38 of 53
None            a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
                   the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
                   this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                   whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
Name and Address of Transferree,                                                                                      Describe Property Transferred
Relationship to Debtor                                                    Date                                        and Value Received




None           b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
               case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                         Amount of Money or Description and Value
Name of Trust or Other Device                                           Date(s) of Transfer(s)           of Property or Debtor's Interest in Property




                11. Closed financial accounts

None           List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
               closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
               checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
               held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
               institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
               instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
               separated and a joint petition is not filed.)
                                                                       Type of Account, Last Four
Name and Address                                                       Digits of Account Number,                                                 Amount and Date of
of Institution                                                         and Amount of Final Balance                                               Sale or Closing
                                                                                                                                             Knapp Page 8

           Case  15-00277-jw Doc 1
             12. Safe deposit boxes
                                                              Filed 01/19/15 Entered 01/19/15 21:52:53                                      Desc Main
                                                              Document Page 39 of 53
None           List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
               within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
               chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
               the spouses are separated and a joint petition is not filed.
Name and Address of Bank                                 Names and Addresses of those with                                                    Date of Transfer
or Other Depository                                      Access to Box or Depository                Description of Contents                   or Surrender, if any




                13. Setoffs

None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
                the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
                concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                petition is not filed.)
Name and Address of Creditor                                               Date of Setoff                                                   Amount of Setoff




                14. Property held for another person

None            List all property owned by another person that the debtor holds or controls.

Name and Address of Owner                                                  Description and Value of Property                                Location of Property
                                                                                                                                          Knapp Page 9

          Case 15-00277-jw                 Doc 1         Filed 01/19/15 Entered 01/19/15 21:52:53                                        Desc Main
            15. Prior address of debtor                  Document Page 40 of 53
None        If the debtor has moved within the three years immediately preceding the commencement of this case, list all premises
               which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
               filed, report also any separate address of either spouse.
Address                                                                Name Used                                                         Dates of Occupancy




            16. Spouses and former spouses

None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
            California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
            year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
            any former spouse who resides or resided with the debtor in the community property state.
Name
                                                                                                                                           Knapp Page 10

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                                                            Document Page 41 of 53
              17. Environmental information

              For the purpose of this question, the following definitions apply:

              "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
              releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
              other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
              or material.

              "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
              formerly owned or operated by the debtor, including, but not limited to, disposal sites.

              "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
              material, pollutant, or contaminant or similar term under an Environmental Law.

None          a. List the name and address of every site for which the debtor has received notice in writing by a governmental
              unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
              governmental unit, the date of the notice, and, if known, the Environmental Law.
                                                       Name and Address of
Site Name and Address                                  Governmental Unit                           Date of Notice                           Environmental Law




None          b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
              of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                       Name and Address of
Site Name and Address                                  Governmental Unit                           Date of Notice                           Environmental Law




None          c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                 respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                 was a party to the proceeding, and the docket number.
 Name and Address of Governmental Unit                             Docket Number                                                         Status or Disposition
                                                                                                                                                      Knapp Page 11

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                    18. Nature, location and name of business

    None            a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
                      executive of a corporation, partner in a partnership, sole proprietor, or was a self-employed in a trade, profession, or
                      other activity either full- or part-time within the six-years immediately preceding the commencement of this case,
                      or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                      preceding the commencement of this case.

                       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                       the voting or equity securities, within the six years immediately preceding the commencement of this case.

                       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                       the voting or equity securities within the six years immediately preceding the commencement of this csae.
    Name, Address, Last Four Digits of Soc. Sec. No.                                                                                                Beginning and
    Complete EIN or Other Taxpayer I.D. No.                                Nature of Business                                                       Ending Dates


Charleston Site Utilities, LLC                                         underground utilty construcition                                          Debtor purchased from
6145 Savannah Highway                                                                                                                            prior owner Nov, 2011
Charleston, SC 29414                                                   95 per cent owned by husband and 5 per cent owned
                                                                       by wife                                                                   Business incorporated
20-885135                                                                                                                                        June 2007




    None            b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
                      defined in 11 U.S.C. § 101.
    Name                                                                                                                               Address
                                                                                                                                                Knapp Page 12

       TheCase      15-00277-jw
            following                          Docby1everyFiled
                       questions are to be completed                     01/19/15
                                                                debtor that  is a corporationEntered
                                                                                              or partnership 01/19/15        21:52:53
                                                                                                              and by any individual  debtor   Desc Main
                                                               Document
   who is or has been, within the six years immediately preceding     the commencement  Page       43 any
                                                                                           of this case, of of53
                                                                                                               the following: an officer,
   directory, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a partner,
   other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as
   defined above, within the six years immediately preceding the commencement of this case. A debtor who has not been in business
   within those six years should go directly to the signature page.)



               19. Books, records and financial statements

None           a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this
               bankruptcy case kept or supervised the keeping of books of account and records of the debtor.
Name and Address                                                                                                                  Dates Services Rendered




None           b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case
                 have audited the books of account and records, or prepared a financial statement of this debtor.

Name and Address                                                                                                                  Dates Services Rendered




None           c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of
                  account and records of the debtor. If any of the books of account and records are not available, explain.

Name and Address




None           d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                 financial statement was issued within the two years immediately preceding the commencement of this case by the debtor.


Name and Address                                                                                                                       Date Issued
                                                                                                                                                 Knapp Page 13

           Case
             20. 15-00277-jw
                 Inventories                    Doc 1          Filed 01/19/15 Entered 01/19/15 21:52:53                                       Desc Main
                                                               Document Page 44 of 53
None            a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking
                  of each inventory, and the dollar amount and basis of each inventory.
                                                                                                                      Amount of Inventory
Date of Inventory                               Inventory Supervisor                                                  (Specify cost, market or other basis)




                b. List the name and address of the person having possession of the records of each of the two inventories
None              reported in a., above.

Date of Inventory                                                  Name and Address of Custodian of Inventory Records




                21. Current Partners, Officers, Directors and Shareholders

None            a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
                  partnership.

Name and Address                                                       Nature of Interest                                                    Percentage of Interest




None            b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly
                  or indirectly owns, controls, or holds 5 percent or more of the voting securities of the corporation.
                                                                                                                                             Nature and Percentage
Name and Address                                                       Title                                                                 of Stock Ownership
                                                                                                                                                 Knapp Page 14

          Case
            22. 15-00277-jw        Doc 1directors
                Former partners, officers,   Filedand01/19/15
                                                      shareholders Entered 01/19/15 21:52:53                                                    Desc Main
                                             Document Page 45 of 53
None           a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
               preceding the commencement of this case.
Name and Address                                                                                                           Date of Withdrawal




None           b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
                 within one year immediately preceding the commencement of this case.
Name and Address                                                       Title                                                                 Date of Termination




               23. Withdrawals from a partnership or distributions by a corporation

None           If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider
               including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during
               one year immediately preceding the commencement of this case.
Name and Address of Recipient,                                                                                                               Amount of Money
Relationship to Debtor                                                 Date and Purpose of Withdrawal                                        and Value of Property




               24. Tax consolidation group

None           If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
               consolidated group for tax purposes of which the debtor has been a member at any time within the six-year period
               immediately preceding the commencement of this case.
Name of Parent Corporation                                                                                                 Taxpayer Identification Number




               25. Pension funds

None           If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to
               which the debtor, as an employer, has been responsible for contributing at any time within the six-year period
               immediately preceding the commencement of this case.
Name of Pension Fund                                                                                                       Taxpayer Identification Number
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 [If completed by an individual or individual and spouse.]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
 attachments thereto and that they are true and correct.


                 January 19, 2015                                                  X   /s/ Marc Keith Knapp
                 Date                                                                  Marc Keith Knapp

                 January 19, 2015                                                  X
                 Date                                                                  Signature of Joint Debtor




                            ___________________________________________________________________________




 [If completed on behalf of a partnership or corporation]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
 attachments thereto and that they are true and correct to the best of my knowledge, information and belief.




                                                                                   X
                 Date                                                                  Signature of Authorized Individual

                                                                                       ,
                                                                                       Printed Name and Title




                              DECLARATION AND SIGNATURE OF BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
110(h), and 342(b); (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a
debtor or accepting any fee from the debtor, as required under that section; and (4) I will not accept any additional money or other property from
the debtor before the filing fee is paid in full.


 Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                          Social-Security No. (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal, responsible
person or partner who signs this document.




     Address

 X
     Signature of Bankruptcy Petition Preparer                                         Date
Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless te bankruptcy petition preparer is
not an individual:
If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
A bankruptcy petition preparer's failure to comply with the provisions of Title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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       Marc            Keith        Knapp



                                            SC




X




                                                        6,500.00      2,000.00




                                       0.00
                                                        0.00


                                       1,150.00


                                       1,150.00         1,150.00
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      Marc       Keith          Knapp




     Draws from Corporation                                     8,833.33




                                                                16,483.33      2,000.00     18,483.33




                                                                                          18,483.33




X




                                                                0.00                      0.00


                                                                                          0.00
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  Marc        Keith       Knapp




 /s/ Marc Keith Knapp



   January 19, 2015                           January 19, 2015
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                                UNITED STATES BANKRUPTCY COURT
                                                          District of SC


In Re:                 Marc Keith Knapp                                   Case No.
                            Debtor                                                                         (if known)




                                   VERIFICATION OF CREDITOR MATRIX


                  The above named debtor(s), or debtor's attorney if applicable, do hereby certify under

               penalty of perjury that the attached Master Mailing List of creditors, consisting of sheet(s) is
               complete, correct and consistent with the debtor's schedules pursuant to Local Bankruptcy

               Rules and I/we assume all responsibility for errors and omissions.




             January 19, 2015                                                          /s/ D. Nathan Davis
                Date                                                                   Signature of Attorney




              /s/ Marc Keith Knapp
              Marc Keith Knapp                                                         Signature of Joint Debtor




              Signature of Authorized Individual
 FB 201A (Form 201A)(6/14)
          Case 15-00277-jw         Doc 1     Filed 01/19/15 Entered 01/19/15 21:52:53                  Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                                       District of SC
                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
   In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and cost of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.
   You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.
    Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are a filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailined from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies
   With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankrupty
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.
   In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.
2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

   Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
    Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a "means test" designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the medium income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
    Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
    The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
 B 201A (Form 201A)(12/09)
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   Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not propertly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.
   Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $75 administrative fee: Total fee $310)
    Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
    Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
    After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

   Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
   Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.
   Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)

   Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similiar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
who incomes arise primarily from a family-owned farm or commercial fishing operation.
3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
   A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.
WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
   B 201BCase
         (Form 201B)(12/09)
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                                           UNITED STATES BANKRUPTCY COURT
                                                                             District of SC

 In Re:                           Marc Keith Knapp                                               Case No.
                                         Debtor                                                                                           (if known)

                                                                                                 Chapter                                     11



                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR DEBTOR(S)
                             UNDER § 342(b) OF THE BANKRUPTCY CODE



                                                            Certificate of [Non-Attorney] Bankruptcy Petition Preparer
   I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the debtor this
   notice required by § 342(b) of the Bankruptcy code.


    Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No. (Required by 11 U.S.C. § 110.)
   If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal, responsible
   person or partner who signs this document.




          Address

    X
          Signature of Bankruptcy Petition Preparer                                           Date




                                                                          Certificate of Debtor

               I (We), the debtor(s), affirm that I (we) have received and read this notice.


     Marc Keith Knapp                                                                    X /s/ Marc Keith Knapp                                January 19, 2015
     Printed Name of Debtor                                                                Signature of Debtor                                 Date

                                                                                         X                                                     January 19, 2015
     Case No. (if known)                                                                      Signature of Joint Debtor (if any)               Date



Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certificaton.
